Case 1:16-cr-00265-LMB Document 246 Filed 04/15/19 Page 1 of 5 PageID# 4638



                       IN THE UNITED STATES DISTRICT COURT FOR THE

                                 EASTERN DISTRICT OF VIRGINIA

                                          Alexandria Division

UNITED STATES OF AMERICA                                )
                                                        )
                  v.                                    )       CRIMINAL NO. 1:16cr 265
                                                        )
NICHOLAS YOUNG                                          )

                    POSITION OF THE UNITED STATES WITH RESPECT TO
                  DEFENDANT'S REQUEST FOR A RESENTENCING HEARING

        On February 23, 2018, this Court sentenced defendant Nicholas Young to be committed

to the custody of the United States Bureau of Prisons to be imprisoned for a term of 180 months

as to each of Counts 1, 2, and 4, all counts to run concurrent with each other. Dkt. #224.

        On February 21, 2019, the United States Court of Appeals issued a judgment (a)

affirming the defendant's conviction on Count 1; (b) vacating his convictions on Counts 2 and 4;

and (c) remanding for resentencing. United States v. Young, 916 F.3d 368 (4th Cir. 2019). At

Note 14 of its opinion, the Fourth Circuit wrote:

              Because Counts One, Two, and Four were grouped under United States
              Sentencing Guidelines § 3D1.2(c) for sentencing purposes, we do not address
              Young’s challenges to his sentence which, if relevant, can be addressed by the
              district court in the first instance upon remand.

Id. at 389.

        Young's counsel requested a date in June 2019 for a resentencing. Dkt. #241. By

Order of March 13, 2019, this Court directed Young's counsel to show cause what

purpose would be served by a resentencing hearing. Dkt. #242. In the course of its

Order, this Court stated:
Case 1:16-cr-00265-LMB Document 246 Filed 04/15/19 Page 2 of 5 PageID# 4639



             Because the sentence on Count 1 was not affected by the Fourth Circuit
             opinion the Court knows of no reason why any hearing is needed, given that the
             only adjustment to the Judgment is to vacate the convictions for Counts 2 and
             4. As there would be no change to the sentence for Count 1, it would be
             Marshals Service and judicial resources to conduct a hearing for what would be
             a mere edit of the judgment.

Id.

       In response, on April 9, 2019, Young argued that the Fourth Circuit's ruling was a general

remand for discretionary resentencing. Young argued that, in such circumstances, a resentencing

hearing should be held to allow for corrections to the guidelines, to consider the factors

enumerated in 18 U.S.C. § 3553, and to protect the defendant's right to a hearing. Dkt. #244.

       By Order of April 10, 2019, this Court directed the United States to advise the Court of

its position on the defendant's request for a resentencing hearing. This pleading responds to that

direction.

       The vacation of the convictions on Counts 2 and 4 should not affect the sentence this

Court previously imposed for Count 1. Despite Young's argument, there are no corrections to the

3553 factors or the guidelines to be considered. Indeed, at any resentencing hearing, resources of

the Marshal Service and the Court will be expended to achieve a result that should be the same as

the one exists already. That being said, the resentencing needs to be held anyway.

       In United States v. Muhammad, 478 F.3d 247 (4th Cir. 2007), the Fourth Circuit

considered the appeal of a defendant whose convictions had been affirmed upon an earlier

appeal, but whose case had been remanded for resentencing in light of United States v. Booker,

543 U.S. 220 (2005). At the resentencing, the district court imposed the same 121-month

sentence that it had imposed originally. The defendant then appealed the sentence that had been

reimposed.

                                                  2
Case 1:16-cr-00265-LMB Document 246 Filed 04/15/19 Page 3 of 5 PageID# 4640



       Upon this second appeal, the Fourth Circuit found that it had been plain error for the

district court to have denied the defendant the right to allocute at the resentencing. The Fourth

Circuit concluded that it simply did not matter that the defendant had allocuted at the original

sentencing, or that the district court obviously had been likely to impose at the resentencing the

same sentence that it had imposed at the original sentencing:

            It is true, as the Government points out, that the prior decision by the district
            court to impose a sentence at the top of the guideline range - despite its
            discretion to impose a lower sentence within that range - casts some
            doubt on whether Muhammad could have persuaded the district court to impose a
            lesser sentence on remand. Nonetheless, it is possible that he could have done so.

Muhammad, 478 F.3d 250-51. Accordingly, the Fourth Circuit vacated the resentencing, on the

grounds that, had the defendant been allowed to allocute at resentencing, "the possibility

remain[ed]" that he would have received a lower sentence:

          Because the “possibility remain[s]” that Muhammad could have received a lesser
          sentence had he been permitted to allocute at resentencing, he has sufficiently
          shown that he was prejudiced by the denial of allocution. . . . For the same reason,
          we exercise our discretion to notice the error. . . . We therefore vacate Muhammad's
          sentence and remand for resentencing. At the resentencing hearing, the district court
          must permit Muhammad to allocute before imposing sentence.

Id. at 251 (citations omitted).

       In United States v. Hadden, 475 F.3d 652, 666-70 (4th Cir. 2007), the Fourth Circuit held

that a district court was not required to conduct a resentencing hearing when it merely

“corrected” a defendant's sentence. In Muhammad, however, the Fourth Circuit explicitly

distinguished Hadden, on the grounds that Hadden involved the correction of a sentence pursuant

to a Section 2255 petition, and not a resentencing:

          We noted [in Hadden], however, that had the district court proceeding been
          considered a “resentenc[ing],” 28 U.S.C.A. § 2255, the defendant would have
          had the right “to allocute.” Hadden, 475 F.3d at 667.

                                                 3
Case 1:16-cr-00265-LMB Document 246 Filed 04/15/19 Page 4 of 5 PageID# 4641



       As noted above, we believe that the vacation of Young's convictions on Counts 2 and 4

should not affect the sentence this Court previously imposed for Count 1. Accordingly, at a

resentencing, the Court should impose the same 15-year sentence on Young that it originally did

in February 2018. Nevertheless, in light of Muhammad, it likely would be plain error to

resentence Young without affording him the opportunity to allocute again.

                                                    Respectfully submitted,

                                                    G. Zachary Terwilliger
                                                    United States Attorney


                                                    _____/s______________________
                                                    Gordon D. Kromberg
                                                    Assistant United States Attorney
                                                    Virginia Bar No. 33676
                                                    Attorney for the United States
                                                    2100 Jamieson Avenue
                                                    Alexandria, VA 22314
                                                    (703) 299-3700
                                                    (703) 837.8242 (fax)
                                                    gordon.kromberg@usdoj.gov




                                               4
Case 1:16-cr-00265-LMB Document 246 Filed 04/15/19 Page 5 of 5 PageID# 4642



                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 15, 2019, I electronically filed the foregoing POSITION OF

THE UNITED STATES WITH RESPECT TO SENTENCING FACTORS with the Clerk of

Court using the CM/ECF system, which will send a notification of such filing (NEF) to counsel

of record.



                                            _____/s______________________
                                            Gordon D. Kromberg
                                            Assistant United States Attorney
                                            Virginia Bar No. 33676
                                            Assistant United States Attorney
                                            Attorney for the United States
                                            2100 Jamieson Avenue
                                            Alexandria, VA 22314
                                            (703) 299-3700
                                            (703) 837.8242 (fax)
                                            gordon.kromberg@usdoj.gov
